               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
             CRIMINAL CASE NO. 2:13-cr-00012-MR-DLH-3


UNITED STATES OF AMERICA        )
                                )
                                )
                 vs.            )                 ORDER
                                )
                                )
EVAN THOMAS NORRIS, JR.         )
_______________________________ )


       THIS MATTER is before the Court upon the Defendant’s Motion to

Revoke Detention Order [Doc. 110].

I.     PROCEDURAL BACKGROUND

       On June 4, 2013, the Defendant was charged in a Bill of Indictment

with   conspiracy to    distribute   marijuana,   oxycodone,       cocaine,      and

alprazolam, in violation of 21 U.S.C. §§ 841(a)(1) and 846. [Doc. 3]. The

Defendant was arraigned on June 21, 2013. A detention hearing was held

on July 1, 2013, at which time the Defendant was released on a $25,000

unsecured bond.        The conditions of release included the following

requirements: (1) that the Defendant must not violate any federal, state or

local law while on release and (2) that the Defendant must report to his




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supervising probation officer as soon as possible any contact with law

enforcement, including any arrests, questioning or traffic stops. [Doc. 33].

      On September 17, 2013, the U.S. Pretrial Services Office filed a

Violation Report, alleging that the Defendant had violated the terms and

conditions of his pretrial release on September 13, 2013 by committing the

offense of violation of a domestic violence protection order issued in

Graham County, North Carolina.          [Doc. 102].   In an addendum to the

Violation Report filed on September 24, 2013, it is alleged that the

Defendant violated the terms and conditions of his pretrial release by

committing two additional violations of the same domestic violence

protection order. [Doc. 108]. It is further alleged that the Defendant violated

the terms and conditions of his release by failing to report his arrest to his

supervising probation officer. [Id.].

      The Honorable Dennis L. Howell, United States Magistrate Judge,

held a bond revocation hearing on September 26, 2013. After reviewing the

evidence presented by the parties, and the arguments of counsel, Judge

Howell found that there was probable cause to believe that the Defendant

had committed state crimes while on release and that there was clear and

convincing evidence that the Defendant failed to report his arrest to his

supervising probation officer.      Based on the evidence presented, the


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Magistrate Judge concluded that the Defendant was unlikely to abide by

any condition or combination of conditions of release that would assure that

the Defendant would not pose a danger to the safety of any other person or

the community or which would assure that the Defendant would not flee the

jurisdiction.     Accordingly, the Magistrate Judge revoked the Defendant’s

bond and ordered him detained pending trial.              [Doc. 109].    This appeal

followed.

II.     STANDARD OF REVIEW

        Title 18 of the United States Code, section 3148, governs the review

and appeal of revocation orders. This statute provides, in pertinent part, as

follows:

                The judicial officer shall enter an order of revocation
                and detention if, after a hearing, the judicial officer --

                (1) finds that there is --

                (A) probable cause to believe that the person has
                committed a Federal, State, or local crime while on
                release; or

                (B) clear and convincing evidence that the person
                has violated any other condition of release; and

                (2) finds that --

                (A) based on the factors set forth in section 3142(g)
                of this title, there is no condition or combination of
                conditions of release that will assure that the person


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               will not flee or pose a danger to the safety of any
               other person or the community; or

               (B) the person is unlikely to abide by any condition
               or combination of conditions of release.

18 U.S.C. § 3148(b). In reviewing a motion to revoke or amend an order of

detention, the Court reviews the Magistrate Judge’s Order de novo. United

States v. Stewart, 19 F. App’x 46, 48 (4th Cir. 2001). In so doing, the Court

“must make an independent determination of the proper pretrial detention or

conditions of release.” Id.

III.     ANALYSIS

         Upon reviewing the evidence presented at the detention hearing 1, the

Court agrees with the Magistrate Judge’s factual findings and with his legal

conclusion that revocation of the release order is warranted in this case.

First, the Defendant has been charged with violating a domestic violence

protection order on three separate occasions by communicating to his

estranged wife through their children and by contacting their children

without DSS supervision. While the Defendant denies committing these

offenses [see Doc. 111], the warrants issued for the Defendant’s arrest are

based on the sworn statements of an investigating officer of the Graham

County Sheriff’s Office. As such, there is probable cause to believe that the

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    The Court has reviewed the FTR recording of the bond revocation hearing.


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Defendant committed these offenses while on pretrial release. Moreover,

there is clear and convincing evidence that the Defendant did not advise his

supervising probation officer of his arrest for these offenses for over eight

days.     The Defendant’s repeated violations of the domestic violence

protection order and his failure to report these charges to his supervising

probation officer in a timely fashion support the Magistrate Judge’s

conclusion that there are no conditions or combination of conditions of

release that will reasonably assure the safety of other persons and the

community.2

        Having conducted an independent review of the FTR recording of the

bond revocation hearing, the Magistrate Judge’s Order revoking the

Defendant’s bond, and having considered the arguments of counsel, the

Court concludes that the Magistrate Judge’s Order should be affirmed.




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  The Defendant suggests that the fact that he recently had his lower right leg amputated
and fitted with a prosthetic device that he has yet to master renders him “less dangerous
than the average person.” [Doc. 111 at 6-7]. The Court notes, however, that the
Defendant has been charged with violating the domestic violence protection order on
three separate occasions, all of which occurred after the Defendant’s leg was
amputated. The Defendant’s argument, therefore, that his recent amputation somehow
renders him less dangerous to others in the community, particularly his estranged wife, is
simply without merit.

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                                  ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Revoke Detention Order [Doc. 110] is DENIED, and the Order of Detention

[Doc. 109] is hereby AFFIRMED.

     IT IS SO ORDERED.         Signed: October 28, 2013




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